               Case 3:20-mj-70996-MAG Document 6 Filed 07/31/20 Page 1 of 2

                                                                           FILED
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   United States Attorney                                                    Jul 31 2020
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division
                                                                       SUSANY. SOONG
                                                                  CLERK, U.S. DISTRICT COURT
 4 WILLIAM FRENTZEN (LABN 24421)                               NORTHERN DISTRICT OF CALIFORNIA
   ANDREW F. DAWSON (CABN 264421)
 5 Assistant United States Attorneys
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                                   UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17

18   UNITED STATES OF AMERICA,                       )   CASE NO. 20-mj-70996-MAG
                                                     )
19           Plaintiff,                              )   UNITED STATES’ MOTION TO UNSEAL
                                                     )   CRIMINAL COMPLAINT AND AFFIDAVIT
20      v.                                           )   AND [PROPOSED] ORDER
                                                     )
21   MASON JOHN SHEPPARD,                            )
                                                     )
22           Defendant.                              )
                                                     )
23

24           The United States, through undersigned counsel, respectfully moves this Court to unseal the
25 Complaint and Affidavit in the above-captioned matter as of 9:00am, July 31, 2020. By that time, the

26 //

27 //

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     MOTION TO UNSEAL COMPLAINT AND AFFIDAVIT AND [PROPOSED]
     ORDER                                  1
     20-mj-70996-MAG
              Case 3:20-mj-70996-MAG Document 6 Filed 07/31/20 Page 2 of 2




 1 government anticipates no further investigative need to keep this matter under seal.

 2

 3 DATED: July 30, 2020                                         Respectfully submitted,
 4
                                                                DAVID L. ANDERSON
 5                                                              United States Attorney

 6
                                                                ________/s/________________
 7                                                              ANDREW F. DAWSON
                                                                Assistant United States Attorney
 8

 9
                                                  ORDER
10
            On the motion of the United States, and good cause appearing therefor, the Court HEREBY
11
     ORDERS that the Complaint and Affidavit in the above-captioned matter be unsealed as of 9:00am on
12
     July 31, 2020.
13

14

15 DATED: July 20, 2020                                         ___________________________________
16                                                              HON. SALLIE KIM
                                                                United States Magistrate Judge
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     MOTION TO UNSEAL COMPLAINT AND AFFIDAVIT AND [PROPOSED]
     ORDER                                  2
     20-mj-70996-MAG
